       Case 2:18-cr-00101-GEKP Document 666-2 Filed 12/20/23 Page 1 of 2

                       Expert Disclosure Statement – Dr. Charles McClure



Based on my experience in general medical practice, including seeing patients in busy practices
where patients have chronic medical conditions, including pain, when a practitioner is seeing a
patient who is established at the practice, there is no standard of care that requires the
practitioner to review the entire patient file before treating the patient. The most important
information is what is happening at the present time, in the context of the last few visits.

Based on my experience as a Supervising Physician for Physician Assistants and my first-hand
knowledge of the commitment a physician undertakes when agreeing to act as a Supervising
Physician for a Physician Assistant, it is the responsibility of the Supervising Physician to make
sure a Physician Assistant (PA) is properly trained. There should be protocols for the PA to
follow. A PA is expected to follow the standard operating procedure of the facility and the
standards of the doctors around him. A PA is not expected to supervise the Supervising or
Attending Physician, nor is it the PA’s responsibility to make sure a practice is operating
correctly.

Based on my training and experience in treating thousands of patients with pain in various
settings, it is not possible to determine the level of a person’s pain by looking at an MRI.
Sometimes a serious problem will be reflected by an MRI but the patient reports no pain, and
sometimes an MRI looks normal and a patient reports pain. Pain is subjective, and a physician
must take a patient’s pain complaint at face value.

Based on my years of experience working at hospitals (including policy-making roles) and
volunteering and working in medically underserved urban communities, many individuals in
lower socio-economic/medically underserved populations do not have insurance and/or do not
establish a relationship with a primary care physician. Such persons tend to utilize hospital
emergency rooms and urgent care facilities when medical needs arise. Hospital emergency
rooms do not handle long term pain management. Even if a person has a primary care physician,
many primary care physicians have opted out of pain management. These populations therefore
tend to utilize urgent care facilities offering pain management when experiencing chronic pain.

Based on my training and practice in addiction medicine, the worst thing you can do both
ethically and medically when a person is on high dose chronic opioids is to cut them off. They
would immediately experience severe withdrawal, with the most common outcome being the
seeking of illicit opioids such as fentanyl with a high risk of overdose, Hepatitis C, HIV and
other physical and social problems. Determining the best course of treatment for the patient is a
complex decision even for the experienced practitioner.
      Case 2:18-cr-00101-GEKP Document 666-2 Filed 12/20/23 Page 2 of 2




                                   Dr. Charles McClure
Dated: ____12/26/22_______
